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 6
                               UNITED STATES DISTRICT COURT
 7                            CENTRAL DISTRICT OF CALIFORNIA

 8
     TESSIBLE “SKYLER” FOSTER;                   Case No. 2:23-cv-07441-AB-PVC
 9   MARIE SCOTT; and KRISTA
     BAUMBACH, individually and on               PLAINTIFFS’ MEMORANDUM OF
10   behalf of all others similarly situated,    POINTS AND AUTHORITIES IN
                                                 SUPPORT OF THEIR MOTION FOR
11              Plaintiffs,                      FINAL   APPROVAL  OF  CLASS
                                                 ACTION SETTLEMENT
12   V.
     800-FLOWERS, INC., D/B/A 1-
     800-FLOWERS.COM, HARRY &                    Date: January 31, 2025
13                                               Time: 1:30 p.m.
     DAVID, PERSONALIZATION                      Courtroom: 7B
14   MALL, SHARI’S BERRIES, 1-800-               Judge: Hon. André Birotte, Jr.
     BASKETS.COM, SIMPLY
15   CHOCOLATE, FRUIT
     BOUQUETS.COM, CHERYL’S
16   COOKIES, THE POPCORN
     FACTORY, WOLFERMAN’S
17   BAKERY, AND VITAL CHOICE,

18             Defendant

19

20


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 1 I.      INTRODUCTION
 2
           Plaintiffs Tessible “Skyler” Foster, Marie Scott, and Krista Baumbach,
 3
     respectfully request that this Court grant Final Approval to the preliminarily approved
 4
     class action Settlement Agreement1 between Plaintiffs and Defendant 800-Flowers,
 5
     Inc. (“Flowers”) (collectively, the “Parties”).2 Pursuant to the Settlement Agreement,
 6
     Defendant will fund a non-reversionary Common Fund in the amount of
 7
     $1,200,000.00, from which each member of the Settlement Class – numbering
 8
     approximately 111,300 California consumers –         will receive a Settlement Share
 9
     payment of approximately $6.83. Plaintiffs maintain that the settlement amount
10
     represents fair and reasonable compensation for Defendant’s alleged violations of
11
     California’s Business & Professions Code Section 17600 et seq., (the “Automatic
12
     Renewal Law”) and California’s Unfair Competition Law, Cal. Bus. & Prof. Code §
13
     17200, et seq., for which the Settlement Class received the benefit of the bargain, e.g.
14
     received the value of the Celebrations Passport program which is the subject of this
15
     Action. The Settlement Agreement should be finally approved especially because it
16
     provides what other ARL settlements have not – automatic, non-claims-made payments
17
     on a pro rata basis from the net Settlement fund to every Settlement Class Member who
18
     1
19        Unless otherwise defined herein, all capitalized terms have the same force,
     meaning and effect as ascribed in the Settlement Agreement.
20
     2
           The preliminarily approved Class Action Settlement Agreement is attached to
     the declaration of Frank S. Hedin as Exhibit 1.
                                          1
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 1 has not opted out of the Settlement.

 2         The Settlement has been exceptionally well-received by the Settlement Class.

 3 Of the 111,305 Settlement Class Members, 99.3% received notice. There were no

 4 objections to the Settlement and only 3 requests for exclusion. These figures confirm

 5 near uniform support for the Settlement, warranting this Court’s final determination

 6 that the Settlement it is “fair, reasonable, and adequate” in accordance with its previous

 7 preliminary determination. (ECF No. 58 at 2).

 8 II.     SUMMARY OF THE ALLEGATIONS

 9         A.    BACKGROUND

10         California’s Autorenewal Statute

11         California passed the ARL, Cal. Bus. Prof. Code §17600, et. seq. in 2009. The

12 ARL’s purpose is “to end the practice of ongoing charging of consumer credit or debit

13 cards or third-party payment accounts without the consumers’ explicit consent for

14 ongoing shipments of a product or ongoing deliveries of service.” Cal. Bus. Prof. Code

15 § 17600.      The ARL was passed to address “increasingly common” consumer

16 complaints of unwanted charges for products or services consumers did not explicitly

17 request or know they agreed to, “often the result of agreements enumerated in the ‘fine

18 print’ on an order or advertisement that the consumer responded to.” California Bill

19 Analysis, S.B. 340 Sen., 4/21/2009.

20


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 1         Under the ARL, an “automatic renewal means a plan or arrangement in which a

 2 paid subscription or purchasing agreement is automatically renewed at the end of a

 3 definite term for a subsequent term.” Cal. Bus. Prof. Code § 17601(a).          The ARL

 4 requires that the disclosure of certain facts pertaining to an automatic renewal (the

 5 “automatic renewal offer terms”) be “clear and conspicuous” – specifically, that prior

 6 to purchase, a customer be advised that a subscription agreement will continue until a

 7 customer cancels, the length of the automatic renewal term, that customers’ credit,

 8 debit, or third-party payment information will be automatically charged on a recurring

 9 basis, any material changes (including price increases), and the cancellation policy.

10 Cal. Bus. Prof. Code § 17601(b). As defined by the statute, “‘[c]lear and conspicuous’

11 or ‘clearly conspicuous’ means in larger type than the surrounding text, or in

12 contrasting type, font, or color to the surrounding text of the same size, or set off from

13 the surrounding text of the same size by symbols or other marks, in a manner that

14 clearly calls attention to the language. In the case of an audio disclosure, ‘clear and

15 conspicuous’ and ‘clearly and conspicuously’ means in a volume and cadence

16 sufficient to be readily audible and understandable.” Cal. Bus. & Prof. Code §

17 17601(c).

18         The ARL makes it unlawful for a business to (1) make an automatic renewal

19 offer that fails to present the “automatic renewal offer terms” in a “clear and

20 conspicuous manner” “before the subscription or purchasing agreement is fulfilled and


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 1 in visual proximity, or, in the case of an offer conveyed by voice, in temporal proximity

 2 . . . to the request for consent to the offer”; and (2) to charge the consumer’s Payment

 3 Method without first obtaining the consumer’s “affirmative consent” to the automatic

 4 renewal. Cal. Bus. Prof. Code § 17602(a)(1) & (2). Additionally, under the ARL if

 5 “the consumer accepted an automatic renewal offer or continuous service offer with an

 6 initial term of one year or longer, that automatically renews unless the consumer

 7 cancels the automatic renewal or continuous service,” then “notice shall be provided at

 8 least 15 days and not more than 45 days before the automatic renewal offer or

 9 continuous service offer renews.” Cal Bus. & Prof. Code § 17601(b)(2).

10         B.    The SAC’s Allegations Concerning the Autorenewal of Celebrations
11 Passport
          As set forth in the Second Amended Complaint (“SAC”), each Plaintiff is a
12
   consumer of Defendant’s “Celebrations Passport” program who brought this putative
13
   class action against Defendant for allegedly violating California’s UCL, Cal. Bus. &
14
   Prof. Code § 17200, et seq., in three ways. (See SAC, ECF No. 45, ¶¶ 27-40).
15
   Specifically, Plaintiffs alleged that Defendant violated: (1) Cal. Business & Professions
16
   Code § 17602(a)(l)) by failing to present the terms of its automatic renewal or
17
   continuous service offer in a clear and conspicuous manner before fulfilling the
18
   subscription and in visual proximity, or in the case of an offer conveyed by voice, in
19
   temporal proximity, to the request for consent to the offer; (2) Cal. Business &
20
   Professions Code § 17602(a)(2)) by charging class members’ credit or debit cards, or
                                         4
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 1 accounts with a third party, for an automatic renewal or continuous service without

 2 first obtaining the consumer’s affirmative consent to the agreement containing the

 3 automatic renewal offer terms or continuous offer terms; and (3) Cal. Business &

 4 Professions Code § 17602(b)(2)) by failing to provide notice of an automatic renewal

 5 offer or continuous service offer with an initial term of one year or longer, that

 6 automatically renews unless the consumer cancels the automatic renewal or continuous

 7 service, at least 15 days and not more than 45 days before the automatic renewal offer

 8 or continuous service offer renews. (SAC, ¶ 58).

 9         The Second Amended Complaint further alleges that Defendant 800-Flowers,

10 Inc. is a retailer that operates a family of brands for special occasion flower deliveries

11 and gift giving. (SAC, ¶ 19). Defendant offers the “Celebrations Passport” program

12 across most of its brands.3 Celebrations Passport is a membership program that

13 provides customers free shipping and no service fees for the first year at a cost of

14 $19.99, which then automatically renews every year after the initial year at a cost of

15 $29.99 plus tax (the “Automatic Renewal Fee”) charged to the consumer’s stored credit

16 card, debit card or third-party payment account (collectively the “Payment Method”).

17 (SAC, ¶ 19).      Defendant sells Celebrations Passport through different channels

18
     3
19  Defendant sold Celebrations Passport through sales channels for the following
   brands: 1-800-Flowers.com, Harry & David, Personalization Mall, Shari’s Berries,
20 1-800-Baskets.com, Simply Chocolate, Fruit Bouquets.com, Cheryl’s Cookies, the
   Popcorn Factory, Wolferman’s Bakery, and Vital Choice. (SAC, ¶¶ 19-20).
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 1 including by phone and online (including its websites and mobile apps). (SAC, ¶ 22).

 2 The SAC alleges that Defendant has used various means to induce customers to add

 3 the Celebrations Passport to their orders, to include, for example, automatically adding

 4 Celebrations Passport to customers’ orders without customers requesting Celebrations

 5 Passport be added. (Id.)

 6         The SAC further alleges that regardless of the means Defendant has used to

 7 induce consumers to purchase the Celebrations Passport, Defendant has uniformly

 8 failed to disclose the key, statutorily required autorenewal terms, in a clear and

 9 conspicuous manner, prior to the customer’s completion of the order process – namely:

10 (a) the fact that the Celebrations Passport automatically renews, (b) that the renewal

11 fee is $29.99, $10.00 higher than the introductory fee, and (c) that the customer’s stored

12 payment method will be charged every year. (SAC, ¶ 22).

13         To the extent the checkout process on Defendant’s websites, phone lines, and

14 other sales channels included the necessary automatic renewal terms, Plaintiffs allege

15 these disclosures were not “clear and conspicuous” as required under the ARL and as

16 such did not manifest a customer’s consent to the autorenewal terms according to the

17 allegations in the complaint. (SAC, ¶ 23). Plaintiffs alleged that to capture more

18 revenue per transaction, Defendant designed its order processes to present the terms

19 of the Celebrations Passport in an intentionally inconspicuous manner, including by

20 hiding the fact that Celebrations Passport is automatically renewed each year and that


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 1 a customer’s stored Payment Method will be automatically charged each year (and

 2 that the customer can cancel at any time). (Id.) The SAC alleges that Defendant

 3 displays such language in font type that is smaller than and not otherwise in contrast

 4 to surrounding text, and not otherwise in a manner that clearly calls attention to such

 5 language, and, that with respect to its sales of Celebrations Passport by telephone that

 6 such disclosures were not made in a volume or cadence sufficient to be readily audible

 7 or understandable. (SAC, ¶ 24). The SAC further alleges that Defendant hid the fact

 8 that Celebrations Passport is automatically renewed each year and that a customer’s

 9 stored Payment Method will be automatically charged each year (and that the customer

10 can cancel at any time) and by falsely representing to consumers that the product costs

11 $19.99/year when in fact it renews every year after the initial year at the price at $29.99

12 plus tax. (SAC, ¶ 25). Additionally, Plaintiffs allege that once a customer is enrolled

13 in the Celebrations Passport, Defendant does not send customers who are enrolled in

14 Celebrations Passport a notice between 15 and 45 days before Celebrations Passport

15 automatically renews for another year, as required under Cal. Bus. & Prof. Code §

16 17602(b)(2) – even though Defendant previously obtained these customers’ mailing

17 addresses, email addresses, and phone numbers at the time of their initial purchases

18 and could thus readily provide them with such notices. (SAC, ¶ 26).

19         C.     Procedural History
20


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 1         On April 20, 2023, after extensive prefiling investigation, Damon Tate,

 2 represented by the undersigned, filed a putative class action against Defendant in the

 3 Superior Court of Los Angeles County styled Tate v. 800-Flowers, Inc., alleging, as

 4 here, that Defendant violated the ARL in connection with its Celebrations Passport

 5 customer loyalty program. At all times thereafter, Defendant vigorously defended the

 6 litigation. It removed the case to the Central District of California, whereupon the case

 7 was assigned case number 2:23-cv-04340-AB-PVC (C.D. Cal. filed June 2, 2024).

 8 (Tate, ECF No. 1). On August 7, 2023, Defendant filed a motion to compel each of

 9 the Tate plaintiffs to arbitration, stay the case pending arbitration, strike class claims,

10 and to dismiss the several of the Tate plaintiffs for lack of standing. (Tate, ECF No.

11 16). On September 6, 2023, the Tate plaintiffs voluntarily dismissed the action without

12 prejudice. (Tate, ECF No. 22). On September 7, 2023, plaintiff Foster, along with

13 Anayancy Paiz, Susan Finkbeiner, and Larissa Rapadas, filed the initial class action

14 complaint in this Action (ECF No. 1), which, like the Tate action, alleged that

15 Defendant violated the ARL in connection with its Celebrations Passport membership

16 program. On November 14, 2023, Defendant filed a motion to compel arbitration and

17 stay the case as to Anayancy Paiz and Larissa Rapadas, arguing that their purchase of

18 Celebrations Passport using the desktop computer sales channel bound them to terms

19 and conditions which required arbitration of disputes. (ECF No. 14). In the same

20 motion, Defendant moved to dismiss Ms. Finkbeiner for lack of standing. (Id.)


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 1        On December 5, 2023, the plaintiffs filed a first amended complaint, which

 2 retained Tessible Foster, Anayancy Paiz, and Larissa Rapadas as representative

 3 plaintiffs, and added Marie Scott, Krista Baumbach, Kimberly Moore Keller and

 4 Latricia Anderson Thompson representative plaintiffs. (ECF No. 20). On January 18,

 5 2024, Defendant filed a motion to compel Anayancy Paiz, Larissa Rapadas, Kimberly

 6 Moore Keller, Latricia Anderson Thompson, and Marie Scott to arbitration, sought a

 7 stay of the case pending final resolution of the arbitrations, and separately moved to

 8 dismiss Kimberly Moore Keller and Latricia Anderson Thompson for lack of standing.

 9 (ECF No. 27). Contemporaneously, Defendant answered the first amended complaint

10 as to plaintiffs Foster and Baumbach. (ECF No. 28). The Parties filed a Case

11 Management Stipulation on January 19, 2024, and a stipulation regarding class

12 certification briefing on February 1, 2024. (ECF No. 29, 31). The Court entered both

13 stipulations. (ECF No. 34, 37). On March 28, 2024, the Court granted Plaintiffs leave

14 to file a second amended complaint (ECF No. 43), which Plaintiffs sought to file in

15 lieu of opposing the then pending motion to compel arbitration. On April 12, 2024,

16 Plaintiffs filed the second amended class action complaint (ECF No. 45), the operative

17 complaint in the Action. The second amended class action complaint named Plaintiffs

18 Foster, Scott, and Baumbach as the only representative plaintiffs and, like each of the

19 prior complaints alleged, Defendant violated the ARL in connection with its

20 Celebrations Passport membership program. (Id.) On May 10, 2024, Defendant filed


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 1 a motion to compel plaintiffs Baumbach and Scott to arbitration and stay the case, or

 2 alternatively, to dismiss plaintiff Baumbach for lack of standing or strike the class

 3 action allegations as to plaintiffs Baumbach and Scott. (ECF No. 46). Defendant also

 4 filed an answer to the second amended complaint as to plaintiff Foster. (ECF No. 47).

 5        Plaintiffs prepared to oppose the motion by engaging and consulting a web

 6 design expert who examined the web flow that Defendant asserts bound Ms. Baumbach

 7 to arbitration. (Hedin Decl., ¶ 15). Plaintiffs moved to adjourn the hearing on the

 8 Motion to Compel to take discovery on the factual issues raised in the Motion (ECF

 9 No. 49), which the Court granted (ECF No. 51).

10        The Parties’ discussions concerning the scope of discovery needed as to the

11 pending motion, turned towards a discussion concerning resolution of the Action.

12 (Hedin Decl., ¶ 16). The parties agreed to engage Jill Sperber, Esq. of Judicate West,

13 a mediator with substantial experience mediating compel civil actions, including

14 consumer class actions. Plaintiffs agreed to mediate on the condition that in advance

15 of the mediation, Defendant provide Plaintiffs with class size information and

16 information concerning the number of automatic renewals paid by California

17 consumers across various sales channels. To facilitate the mediation, the Parties

18 stipulated to, and the Court granted, a 90-day enlargement of time of deadlines related

19 to the pending motion to compel arbitration and a 180-day enlargement of all other

20 case management deadlines, including trial. (ECF No. 52, 53).


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 1        On July 24, 2024, the parties attended a full day of mediation before Ms.

 2 Sperber, Esq. (Hedin Decl., ¶ 18). Before the mediation Defendant provided the class

 3 size and the sales channel information requested. (Id.)

 4        The Parties each disclosed to the mediator (but did not exchange) position

 5 statements. (Hedin Decl., ¶ 19). Plaintiffs’ statement set forth their evaluation of the

 6 case, including their favorable assessment of prevailing on both the pending motion to

 7 compel arbitration in light of, among other things, the motion to dismiss Ms. Baumbach

 8 for lack of standing, and the high likelihood of certifying a class. (Id.) Armed with

 9 the number of customers and number of renewals, Plaintiffs were further able to make

10 a cogent, good faith assessment of the range of potential damages which informed the

11 settlement negotiations. (Id.)

12        The mediation concluded with a settlement in principle memorialized by a

13 comprehensive term sheet executed by counsel for both Parties on July 24, 2024. Prior

14 to executing the Settlement Agreement on August 30, 2024, Defendant produced to

15 Plaintiffs a confirmatory sworn declaration which attested to the fact that there were

16 112,356 email addresses associated with California customers who purchased

17 Celebrations Passport from September 7, 2019, through May 31, 2022, and who

18 incurred at least one automatic renewal charge for Celebrations Passport that was not

19 fully refunded. (Hedin Decl. ¶ 23). The Parties worked together to select Kroll as a

20 Settlement Administrator upon joint review of Kroll’s comprehensive bid proposal,


                                        11
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 1 which provided for every aspect of the proposed notice plan and which was in line with

 2 that of similar class action settlement administrators. (Hedin Decl. ¶ 29).

 3          The Court granted preliminary approval of the Settlement on October 3, 2024.

 4 (ECF No. 58).

 5 III.     TERMS OF THE SETTLEMENT
 6
            Pursuant to the Settlement Agreement, Plaintiffs sought to certify the following
 7
     Settlement Class:
 8
            All Persons who purchased Celebrations Passport in California on or
 9          after September 7, 2019, through May 31, 2022, and who incurred at
            least one automatic renewal charge for Celebrations Passport that was
10          not fully refunded.4

11 Settlement Agreement § III, ¶¶ 76-77.

12          A.    Monetary Relief

13          Under the Settlement Agreement Defendant agreed to pay exactly $1,200,000.00

14 into a Common Fund. Settlement Agreement §§ II., ¶ 37. The payment into the

15 Common Fund is non-reversionary and is in full satisfaction of all Defendant’s

16 monetary obligations under the Settlement Agreement. (Id.) The Common Fund shall

17

18  As set forth in the Settlement Agreement, specifically excluded from the Settlement
     4

   Class are the following Persons: (a) 800-Flowers, Inc., the Released Persons and their
19 employees, officers, directors, agents, and representatives, and their immediate family
   members; (b) Class Counsel; (c) the Court, the Court’s immediate family members,
20 and Court staff; and (d) the mediator, Jill Sperber, Esq. of Judicate West. Settlement
   Agreement § III, ¶¶ 76-77.
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 1 be used to pay, on an automatic, non-claims-made basis, Settlement Shares to every

 2 Settlement Class Member who does not opt out of the Settlement, an Attorneys’ Fee

 3 Award to Class Counsel, Service Awards to each of the three representative Plaintiffs,

 4 and Notice and Administration Costs to Kroll. (Id., §§ IV., ¶¶ 82-83.).

 5         All identifiable Settlement Class Members who did not timely exclude

 6 themselves from the Settlement will automatically receive – without the need to file a

 7 claim form – a Settlement Share. (Id. at § IV., ¶ 82.) Each Settlement Share shall be

 8 calculated by dividing the value of the Net Common Fund (which is the amount of the

 9 Common Fund that remains after Attorneys’ Fee Award, Notice and Administration

10 Costs, Service Awards, and any other costs of the class Settlement, not including the

11 Settlement Shares due to each Settlement Class Member) by the total of the number of

12 Settlement Class Members minus Opt-Outs. (Id. at § II., ¶ 72.) All Settlement Shares

13 shall be of equal value. Settlement Shares shall be paid automatically without the need

14 to file a claim form. (Id.) Settlement Shares shall be paid by default to a Zelle account

15 linked to the email address the Settlement Class Member most recently used to renew

16 Celebrations Passport, or, if Zelle is unavailable, via an electronic MasterCard gift card

17 sent to that same email address. (Id.) On the Settlement Class Member’s election on

18 the Settlement Website, a Settlement Share may be paid by paper check. (Id.).

19         The default method of distribution of Settlement Shares is by automatic deposit

20 to an electronic wallet as set forth above.           However, where the Settlement


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 1 Administrator was unable to communicate the Class Notice by e-mail to a Settlement

 2 Class Member (as described in Section C below), the Settlement Class Member will

 3 automatically be sent a paper check to the same address at which he or she received a

 4 Post Card Notice. (Id. at § IV., ¶ 92.) Paper checks sent to Settlement Class Members

 5 will expire after 180 days. (Id. at § IV., ¶ 93.) The expiration date will be provided on

 6 each paper check, and the Class Notice will inform Settlement Class Members that

 7 paper checks must be cashed or deposited prior to the expiration date on the paper

 8 check (and that the paper check will no longer be valid after such date). (Id.) Any

 9 uncashed funds remaining after the paper checks’ expiration date will be distributed to

10 the National Consumer Law Center as a cy pres recipient. (Id. at § IV., ¶ 94.)

11         B.     Class Notice and Settlement Administration
12                      (i)    Class Notice was timely made and there was a 99.3%
                              reach rate
13
           In the Preliminary Approval Order, the Court established deadlines for notice
14
     and authorized Counsel “to use all reasonable procedures in connection with approval
15
     and administration of the Settlement that are not materially inconsistent with this Order
16
     or the Settlement Agreement, including making, without further approval of the Court,
17
     insubstantial changes to the form or content of the Class Notices and other exhibits that
18
     they jointly agree are reasonable and necessary.” (ECF No. 58 at 6). Notice and
19
     Administration Costs to the Settlement Administrator are to be paid from the Common
20
     Fund. (Settlement Agreement § IV.D).

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 1        Pursuant to the Preliminary Approval Order, as described below the Class Notice

 2 commenced on October 23, 2024. (Declaration of Andrea Dudinsky (“Dudinsky

 3 Decl.”) ¶ 8).      As an initial step, Defendant timely provided the Settlement

 4 Administrator with a Class List file contained 112,356 records with first name, last

 5 name, email address, and address fields for Settlement Class Members. Id. ¶ 6. After

 6 deduplication the Settlement Administrator determined there were 111,305 unique

 7 Settlement Class Member records. Id.

 8        On October 7, 2024, the Settlement Administrator created a dedicated Settlement

 9 Website. (Dudinsky Decl. ¶ 7). The Settlement Website “went live” on October 23,

10 2024, the notice date provided for in the Preliminary Approval Order. Id. It contained

11 a summary of the Settlement, important dates and deadlines, contact information for

12 the Settlement Administrator, answers to frequently asked questions, downloadable

13 copies of relevant documents, including the Settlement Agreement, the long-form

14 Class Notice, the Motion for Preliminary Approval, the Preliminary Approval Order,

15 the motion for Attorneys’ Fee Award and Service Award, and allowed Settlement Class

16 Members an opportunity to make an online request to opt-out of the Settlement, request

17 that a Settlement Share be paid by paper check or electronic transfer, or to register a

18 change of address. Id.

19        Also on October 23, 2024, the Settlement Administrator caused the Email Notice

20 to be sent to the 112,356 email addresses on file for Settlement Class Members, which


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 1 included multiple email addresses for some Settlement Class Members. (Dudinsky

 2 Decl. ¶ 8).     Of the 112,356 emails attempted for delivery, 26,445 emails were

 3 rejected/bounced back as undeliverable. Id. Of these, there were 25,907 Settlement

 4 Class Members for whom all Email Notices sent were rejected/bounced back as

 5 undeliverable. Id.

 6         As set forth in the Settlement Agreement (Settlement Agreement §§ II., ¶ 58), a

 7 Post Card Notice was mailed to the physical mailing address on record for all

 8 Settlement Class Members for whom all Email Notices sent were rejected/bounced

 9 back as undeliverable and for whom a physical mailing address was available.

10 (Dudinsky Decl. ¶ 8). As such, on November 12, 2024, the Settlement Administrator

11 caused 25,858 Post Card Notices to be mailed via first-class mail.5 Id. ¶ 9. In an effort

12 to ensure that Post Card Notices would be deliverable to Settlement Class Members,

13 the Settlement Administrator ran the list of Settlement Class Members receiving a Post

14 Card Notice through the USPS’s National Change of Address (“NCOA”) database and

15 updated the Class List with address changes received from the NCOA. Id.

16         As of January 13, 2025, 141 Post Card Notices were returned by the USPS with

17 a forwarding address. (Dudinsky Decl. ¶ 10). Of those, 139 Post Card Notices were

18 automatically re-mailed to the updated addresses provided by the USPS. Id. The

19
     5
20    A physical address was unavailable for forty-nine (49) Settlement Class Members for
     whom all Email Notices sent were undeliverable.
                                         16
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 1 remaining two (2) Post Card Notices were re-mailed by Settlement to the updated

 2 address provided by the USPS. Id.

 3         As of January 13, 2025, 2,061 Post Card Notices were returned by the USPS as

 4 undeliverable as addressed, without a forwarding address. (Dudinsky Decl. ¶ 11). The

 5 Settlement Administrator ran 1,9806 undeliverable records through an advanced

 6 address search. Id. The advanced address search produced 1,284 updated addresses.

 7 The Settlement Administrator has re-mailed Post Card Notices to the 1,284 updated

 8 addresses obtained from the advanced address search. Id. Of the 1,284 re-mailed Post

 9 Card Notices, none have been returned as undeliverable a second time. Id. Based on

10 the foregoing, the Settlement Administrator estimates its “reach rate” for Class Notice

11 is 99.3%, as is summarized in the following table:

12

13

14

15

16

17

18
     6
    The remaining eighty-one (81) undeliverable Post Card Notices received to date were
19 received after the advanced address search was run and therefore those records were
   not included in the search. The Settlement Administrator will continue to trace and re-
20 mail these and any additional undeliverable Post Card Notices received through the
   Final Approval Hearing date.
                                         17
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 1                             Direct Notice Program Dissemination & Reach
                                                                         Volume of   Percentage of
 2                                Description                               Class        Class
                                                                         Members       Members
 3       Settlement Class Members                                         111,305          100.0%
                                                  Email Notice
 4       (+) Settlement Class Members sent Email Notice                   111,305           100%
         (-) Settlement Class Members for whom all Email Notices          (25,907)          23.3%
 5       returned as undeliverable
                                        Initial Post Card Notice Mailing
 6       (+) Total Unique Post Card Notices Mailed                         25,858           23.2%
         (-) Total Undeliverable Post Card Notices                         (2,061)           1.9%
 7                                  Supplemental Post Card Notice Mailing
         (+) Total Unique Post Card Notices Re-mailed                       1,284            1.2%
 8       (-) Total Undeliverable (Re-Mailed) Post Card Notices               (0)               0%
                                         Direct Notice Program Reach
 9       (=) Likely Received Direct Notice                                110,479           99.3%

10
     (Id. ¶ 12).
11
                            (ii)   There were only 3 requests for exclusion and no
12                                 objections
13            The Opt-Out and Object deadline date was December 23, 2024. (ECF No. 58 at
14 6). There were only three requests for exclusion and no objections. (Dudinsky

15 Decl. ¶ 15). Plaintiffs timely filed their Motion for Attorneys’ Fees and Service Award

16 on December 2, 2024 (ECF No. 60) and the Motion for Attorneys’ Fees and Service

17 Award were contemporaneously posted to the Settlement Website. (See Dudinsky

18 Decl. ¶ 7).7

19

20
     7
      Separately, on behalf of the Defendant, the Settlement Administrator provided notice
     of the proposed Settlement pursuant to the Class Action Fairness Act, 28 U.S.C.
     §1715(b) (“the CAFA Notice”). On September 6, 2024, Kroll sent the CAFA Notice
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 1                      (iii)   Each Settlement Class Member will automatically
                                receive an estimated $6.83 as a Settlement Share
 2

 3
           The costs of Settlement Administration are to be paid from the Settlement Fund.
 4
     (Settlement Agreement § IV.D). The Court’s Preliminary Approval Order provides
 5
     that in this matter that Notice and Administration Costs shall not exceed $89,400, as
 6
     set forth in the Settlement Agreement. In the Declaration of Andrea R. Dudinsky of
 7
     Kroll Settlement Administration LLC In Connection with Preliminary Approval of
 8
     Settlement, filed August 30, 2024 (Dudinsky Prelim. Decl., ECF No. 55-6) the
 9
     Settlement Administrator stated that the estimated Notice and Administration Costs
10
     were approximately $81,091.87, and that the Settlement Administrator had agreed that
11
     Notice and Administration Costs would not exceed the amount of $89,400. See Id. ¶17.
12
     The Settlement Administrator elaborated therein, however, that the “Not to Exceed”
13
     amount was contingent upon certain assumptions, including the maximum number of
14
     Post Card Notices being mailed and the maximum number of Settlement Share checks
15
     being mailed. See Id.. ¶17, fn2.
16
           Following receipt of the rejected/bounced back emails of the Email Notice to
17
     approximately 26,000 class members as described in above, the Settlement
18

19
   to the Attorney General of the United States and the California Attorney General.
20 (Dudinsky Decl. ¶ 4).


                                        19
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 1 Administrator notified the counsel for the Parties that based on the undeliverable rate,

 2 both the number of Post Card Notices and the number of checks to be mailed were

 3 likely to exceed the originally estimated volumes, resulting in additional cost.

 4 Dudinksy Decl. ¶ 17. Based on the additional mailings required, the Settlement

 5 Administrator estimates its total costs at completion will be $117,558.81, subject to

 6 change on factors such as change in administration scope. See Id. at ¶ 18.

 7         The Settlement Administrator estimated in its Preliminary Declaration that the

 8 Settlement Share for each Settlement Class Member would be between $6.91 and $6.99

 9 based on Kroll’s then estimated and not-to-exceed Notice and Administration Costs, as

10 well as other factors set forth therein, including its then-current understanding of the

11 Settlement Class size. Dudinsky Decl. ¶ 19. Based on the Settlement Administrator’s

12 updated understanding of the Settlement Class size as well as the current estimated

13 Notice and Administration Costs described herein and in the Dudinsky Declaration, the

14 Settlement Administrator has slightly revised its estimate for the Settlement Share that

15 each Settlement Class Member will receive from $6.91 and $6.99 to $6.83. Id.

16 IV.     ARGUMENT
17
           The Settlement, as preliminarily recognized, was negotiated at arm’s length by
18
     competent, experienced counsel and would, if approved, provide strong monetary relief
19
     to Settlement Class Members, in a prompt and efficient manner. Accordingly, the
20


                                         20
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 1 Court should (A) grant final approval of the Settlement and (B) certify the Settlement

 2 Class.

 3          A.    Final Approval of the Settlement is Warranted
 4
            In the Preliminary Approval Order, the Court provisionally certified a class
 5
     consisting of “All Persons who purchased Celebrations Passport in California on or
 6
     after September 7, 2019 through May 31, 2022 and who incurred at least one automatic
 7
     renewal charge for Celebrations Passport that was not fully refunded”. (See ECF No.
 8
     58 at 2; Settlement Agreement § III, ¶¶ 76-77). The Court should grant Final Approval
 9
     for the reasons that follow.
10
            Rule 23(e) provides that a court may approve a proposed class settlement “on a
11
     finding that it is fair, reasonable, and adequate.” See Fed. R. Civ. P. 23(e)(2); see also
12
     Lane, 696 F.3d at 818 (“a district court’s only role in reviewing the substance of [a]
13
     settlement is to ensure that it is ‘fair, adequate, and free of collusion.’”) (citing Hanlon
14
     v. Chrysler Corp.,150 F.3d 1011, 1026 (9th Cir.1998)). When “the parties reach a
15
     settlement agreement prior to class certification, courts must peruse the proposed
16
     compromise to ratify both the propriety of the certification and the fairness of the
17
     settlement.” See Staton v. Boeing Co., 327 F.3d 938, 952 (9th Cir. 2003). At the final
18
     approval stage specifically, the court should examine whether there is possible
19
     prejudice from “(1) class members’ possible reliance on the filing of the action if they
20
     are likely to know of it either because of publicity or other circumstances, (2) lack of
                                         21
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 1 adequate time for class members to file other actions, because of a rapidly approaching

 2 statute of limitations, (3) any settlement or concession of class interests made by the

 3 class representative or counsel in order to further their own interests.” Diaz v. Tr.

 4 Territory of Pac. Islands, 876 F.2d 1401, 1408 (9th Cir. 1989). Here, a consideration

 5 of each factor weighs in favor of finding the Settlement is fair, reasonable, and

 6 adequate, warranting Final Approval.

 7                1. The Settlement Class Should Be Certified

 8        A class is certifiable for settlement purposes if “each of the four requirements of

 9 Rule 23(a) and at least one of the requirements of Rule 23(b)” are met. See Zinser v.

10 Accufix Research Inst., 253 F.3d 1180, 1186 (9th Cir. 2001) (citations omitted).

11                       a. The Requirements of Rule 23(a) Are Satisfied
12
           Rule 23(a) requires that (1) the proposed settlement is so numerous that joinder
13
     of all individual class members is impracticable (numerosity); (2) there are questions
14
     of law or fact common to the proposed settlement class (commonality); (3) the
15
     plaintiff’s claims are typical of those of the class (typicality), and (4) the plaintiff and
16
     class counsel will adequately protect the interests of the class (adequacy). Fed. R. Civ.
17
     P. 23(a)(1)–(4). The Settlement Class readily satisfies each of these requirements.
18

19

20


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 1                            i.    Numerosity
 2
           The first requirement of Rule 23(a) is that “the class is so numerous that joinder
 3
     of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). The Settlement Class
 4
     consists of approximately 111,305 individuals dispersed throughout the state of
 5
     California and potentially elsewhere. Joinder of all Settlement Class Members is
 6
     obviously impractical. See Celano v. Marriott Int’l Inc., 242 F.R.D. 544, 548-49 (N.D.
 7
     Cal. 2007) (numerosity is satisfied where at least 40 class members).
 8
           Accordingly, the numerosity requirement of Rule 23(a)(1) is satisfied.
 9
                             ii.    Commonality
10

11         The second requirement is that “there are questions of law or fact common to the

12 class.” Fed. R. Civ. P. 23(a)(2). The commonality requirement is satisfied where a

13 plaintiff asserts claims that “depend upon a common contention” that is “of such a

14 nature that it is capable of class wide resolution – which means that determination of

15 its truth or falsity will resolve an issue that is central to the validity of each one of the

16 claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).

17         As previously submitted with the Motion for Preliminary Approval, there are

18 several questions of law and fact that are common to the Settlement Class in this case

19 according to Plaintiffs, including, among others; whether Defendant’s annual renewal

20 of Celebrations Passport constitutes an “automatic renewal” within the meaning of Cal.


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 1 Bus. & Prof. Code § 17601(a); whether Defendant failed to present the automatic

 2 renewal offer terms, or continuous service offer terms, in a clear and conspicuous

 3 manner before the subscription or purchasing agreement was fulfilled and in visual

 4 proximity, or in the case of an offer conveyed by voice, in temporal proximity, to the

 5 request for consent to the offer, in violation of Cal. Bus. & Prof. Code § 17602(a)(l);

 6 whether Defendant charged Plaintiffs’ and Class Members’ stored payment method an

 7 Automatic Renewal Fee without first obtaining their affirmative consent to the

 8 automatic renewal offer terms in violation of Cal. Bus. & Prof. Code §17602(a)(2); and

 9 whether the goods and services provided by Defendant are deemed “unconditional

10 gifts” in accordance with Cal. Bus. & Prof. Code § 17603. See Kissel v. Code 42

11 Software, Inc., No. 8:15-cv-01936-JLS-KES (C.D. Cal. Oct. 4, 2017), ECF No. 47 at 8

12 (finding identical identified common questions of law and fact satisfied Rule 23

13 commonality analysis in ARL class action); Noll v. eBay, Inc., 309 F.R.D. 593, 603

14 (N.D. Cal. 2015)) (commonality satisfied where description and function of

15 autorenewal terms was a common factual question amongst Class Members).

16 Accordingly, the commonality requirement of Rule 23(a)(2) is satisfied.

17                         iii.    Typicality
18
           Rule 23(a)(3) requires that “the claims or defenses of the representative parties
19
     are typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “The
20


                                        24
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 1 typicality requirement is not demanding.” Fogarazzao v. Lehman Bros., Inc., 232

 2 F.R.D. 176, 180 (S.D.N.Y. 2005).

 3         As previously presented to this Court, Plaintiffs’ claims are typical of the claims

 4 of Settlement Class Members because their claims arise out of the same event, practice

 5 or course of conduct that gives rise to the claims of the other class members and are

 6 based on the same legal theory according to Plaintiffs. See, e.g., Whitaker, 2014 WL

 7 5454398, at *5 (finding typicality satisfied because each class member’s claim

 8 “revolves exclusively around [the defendant’s] conduct as it specifically relates to the

 9 alleged violations of the TCPA”); Agne v. Papa John’s Int’l, Inc., 286 F.R.D. 559, 569

10 (W.D. Wash. 2012) (finding typicality satisfied where the plaintiff’s claims, “like all

11 class members’ claims, arise from text marketing campaigns commissioned by Papa

12 John’s franchisees and executed by the same marketing vendor . . . .”). Plaintiffs and

13 each Settlement Class Member purchased Celebrations Passport in California and paid

14 at least one unrefunded autorenewal fee. (SAC, ¶¶ 27-40).

15         Accordingly, the typicality requirement of Rule 23(a)(3) is satisfied.

16                          iv.    Adequacy of Representation
17
           The fourth and final Rule 23(a) requirement is “adequacy of representation,”
18
     Fed. R. Civ. P. 23(a)(4), which has two components: (1) the representatives must not
19
     possess interests that are antagonistic to the interests of the class, and (2) the
20
     representatives’ counsel must be qualified, experienced, and generally able to
                                        25
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 1 conduct the proposed litigation. See Ellis v. Costco Wholesale Corp., 657 F.3d 970,

 2 985 (9th Cir. 2011).

 3        Both components are satisfied because Plaintiffs’ interests in this litigation are

 4 aligned with, and not antagonistic to, those of the Settlement Class, and because

 5 Plaintiffs hired qualified and competent counsel. Plaintiffs each challenge the same

 6 alleged unlawful conduct that each Settlement Class Member challenges, and they each

 7 seek the same monetary relief that is sought by each Settlement Class Member.

 8 Plaintiffs have retained competent counsel, provided substantial assistance to their

 9 counsel in advance of and during the litigation, vigorously prosecuted the case on

10 behalf of the Settlement Class, and assisted their counsel in reaching a proposed

11 resolution to this action on behalf of the Settlement Class. Finally, Plaintiffs’

12 counsel have substantial class action litigation experience, having successfully

13 investigated, prosecuted, and resolved many complex class actions, including prior

14 consumer class actions similar to the instant matter. (See generally Hedin Decl.)

15         Accordingly, the adequacy of representation requirement of Rule 23(a) is

16 satisfied.

17                      b. The Requirements of Rule 23(b)(3) Are Satisfied
18
           Finally, because Plaintiffs seek certification under Rule 23(b)(3), Plaintiffs must
19
     additionally show (1) that common questions of law or fact predominate over questions
20
     affecting only individual members of the class (predominance); and (2) that a class
                                        26
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 1 action is superior to other available methods of resolving the controversy (superiority).

 2 Fed. R. Civ. P. 23(b)(3).8 Both requirements are easily satisfied here.

 3         Common Questions Predominate

 4         The predominance requirement of Rule 23(b)(3) is satisfied because common

 5 questions comprise a substantial aspect of the case and can be resolved for all

 6 Settlement Class Members in a single adjudication.           See Tyson Foods, Inc. v.

 7 Bouaphakeo, 577 U.S. 442, 453 (2016) (“When ‘one or more of the central issues in

 8 the action are common to the class and can be said to predominate, the action may be

 9 considered proper under Rule 23(b)(3) . . .’” (citation omitted)); True Health

10 Chiropractic, Inc. v. McKesson Corporation, 896 F.3d 923, 932 (9th Cir. 2018); accord

11 Roach v. T.L Cannon Corp., 773 F.3d 401, 405 (2d Cir. 2015) (predominance is

12 satisfied “if resolution of some of the legal or factual questions that qualify each class

13 member’s case as a genuine controversy can be achieved through generalized proof,

14 and if these particular issues are more substantial than the issues subject only to

15 individualized proof”).

16

17

18
     8
     Because the Court is called upon to assess the requirements of Rule 23 in the context
19 of a settlement, the Court need not consider whether any manageability problems
   would arise at trial if the Settlement Class is certified. Amchem, 521 U.S. at 620
20 (“Confronted with a request for settlement-only class certification, a district court need
   not inquire whether the case, if tried, would present intractable management problems
   . . . for the proposal is that there be no trial.”).
                                         27
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 1        The Settlement Class Members uniformly received the same disclosures via the

 2 sales channels they used to purchase Celebrations Passport – desktop, mobile, and

 3 telephone – which Plaintiffs submit were non-compliant with the ARL. Thus, the

 4 central questions in this case–whether such disclosures were presented in a clear and

 5 conspicuous manner under Cal. Bus. & Prof. Code § 17602(a)(l) and whether

 6 Defendant charged Plaintiffs’ and Settlement Class Members’ stored payment method

 7 an Automatic Renewal Fee without first obtaining their affirmative consent to the

 8 automatic renewal offer terms in violation of Cal. Bus. & Prof. Code § 17602(a)(2) –

 9 are each capable of resolution by looking at the Defendant’s records according to the

10 Plaintiffs. Because there are no apparent issues requiring individualized proof, the

11 predominance requirement is satisfied for purposes of Final Approval.

12        Class Treatment of Plaintiffs’ Claims is Superior

13        Rule 23(b)(3) also requires that a class action be superior to other available

14 methods for adjudicating the controversy. It is axiomatic that cases involving “multiple

15 claims for relatively small individual sums” are well suited to class treatment. Local

16 Joint Exec. Bd. of Culinary/ Bartender Trust Fund v. Las Vegas Sands, Inc., 244 F.3d

17 1152, 1163 (9th Cir. 2001); Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d 1168,

18 1175 (9th Cir. 2010) (“Where recovery on an individual basis would be dwarfed by the

19 cost of litigating on an individual basis, this factor weighs in favor of class

20 certification.”); see also Amchem, 521 U.S. at 617 (noting that “the Advisory


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 1 Committee had dominantly in mind vindication of the rights of groups of people who

 2 individually would be without effective strength to bring their opponents into court at

 3 all”).

 4          A class action is the superior method for the fair and efficient adjudication of

 5 these claims. Plaintiffs’ claims are shared by approximately 111,302 other consumers,

 6 each of whom paid at least one unrefunded fee to renew Celebrations Passport

 7 receiving the same notification of the Celebrations Programs autorenewal terms which

 8 Plaintiffs submit are non-compliant with California’s ARL. Resolution of all claims

 9 of all Settlement Class Members in a single proceeding promotes judicial efficiency

10 and avoids inconsistent decisions. See Gen. Tel. Co. of the Sw. v. Falcon, 457 U.S.

11 147, 155 (1982) (noting “the class-action device saves the resources of both the courts

12 and the parties by permitting an issue potentially affecting every class member to be

13 litigated in an economical fashion under Rule 23”). Further, the damages available

14 under the ARL, which is limited to the cost of the goods purchased insofar as the goods

15 are deemed unconditional gifts, is small in comparison to the costs of litigation. As a

16 result, it is unlikely any Settlement Class Member would be willing or able to pursue

17 relief on an individual basis.

18          Accordingly, the superiority requirement of Rule 23(b)(3) is satisfied.

19

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 1                2. The Settlement is Appropriate for Final Approval
                        a. The Settlement is Fair, Reasonable, and Adequate
 2

 3         The Court previously conducted a preliminary assessment of the subject

 4 Settlement and determined “that the proposed Settlement of $1,200,00.00 is fair,

 5 reasonable and adequate[.]” (ECF No. 58 at 1-2). Among the most important factors

 6 relevant to the fairness of a class action settlement is the strength of the plaintiff’s case

 7 on the merits balanced against the amount offered in the settlement. Still, settlement is

 8 necessarily “an amalgam of delicate balancing, gross approximations and rough

 9 justice,” Officers for Justice, 688 F.2d at 625, and thus “the question whether a

10 settlement is fundamentally fair . . . is different from the question whether the

11 settlement is perfect in the estimation of the reviewing court.” Lane, 696 F.3d at 819.

12         Here, each Settlement Class Member will receive approximately $6.83, an

13 amount that is fair, adequate, and reasonable because it fully comports with the ranges

14 articulated in Kissel v. Code 42 Software, Inc., No. 8:15-cv-01936-JLS-KES (C.D. Cal.

15 Apr. 14, 2016), which involved a finally approved ARL class action before Judge

16 Stanton.9 In Kissel, the court approved a settlement that created a Settlement Fund in

17
     9
18   This final anticipated amount varies by a few cents from the $6.91-$6.93 cents the
   Settlement Administrator anticipated would be recovered at the preliminary approval
19 stage. As set forth above, this de minimis variance is attributable to the higher than
   expected bounce back rate of Email Notice, the primary means of notice under the
20 Settlement Agreement which was selected because it was the most cost effective means
   of providing primary notice. In order to ensure sufficient notice to the Settlement Class,
   Post Card Notice was provided and paper checks will be mailed to those Settlement
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 1 the amount of $400,000 to pay settlement shares to 32,200 class members. The product

 2 in Kissel was an online computer backup service, which renewed monthly under three

 3 different subscription plans and cost between $5.00 and $13.99 per month. Ultimately,

 4 the settlement yielded a recovery of $7.00-$7.50 per class member. The court noted

 5 that assessing the recovery was not “straightforward” because of potential disputes

 6 about the recoverability of fees. Kissel, No. 8:15-cv-01936-JLS-KES (C.D. Cal. Oct.

 7 4, 2017), ECF No. 47 at 15-16. Similar disputes exist here, as Defendant would assert

 8 that the Settlement Class Members were on notice of charges, including at the time of

 9 purchase and/or after the first renewal and continued to accept the benefits Celebrations

10 Passport. (ECF No. 47 at 11).

11        In Kissel the court compared the value of the settlement to the class at three

12 levels, a high estimate which assumed recovery of all renewal fees paid by all class

13 members during the class period, a mid-range estimate which assumed recovery of all

14 fees after the first renewal period, and a low range which considered as recoverable

15 damages only the fees paid in the first month of the first autorenewal period. Id. The

16 Kissel court found that “[u]sing the highest estimate, and net settlement amount of

17 $247,500, the proposed settlement fund represents approximately 3.7% of Defendant’s

18 maximum potential liability. For the mid-range estimate, the settlement award

19

20 Class Members for whom all emails bounced back, which required an increase in
   Settlement Administration costs.
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 1 represents approximately 10.3% of the potential liability of $2,396,162. And using the

 2 lowest estimate, the settlement represents 93% of the maximum liability.” Following

 3 the same analysis, assuming approval of a $300,000 Attorneys’ Fee Award and Service

 4 Awards of $7,500 total, and that the Settlement Administrator’s fees were the highest

 5 estimated at $117,459, the net Settlement Fund to be distributed to Settlement Class

 6 Members would be $775,041. At the low, middle, and high ranges of prospective

 7 recovery, this equates to a recovery of 5.24%, 13.98%, and 20.97%, respectively.10

 8          Regarding the settlement’s fairness the Kissel court stated as follows:

 9          A “settlement amounting to only a fraction of the potential recovery does
            not per se render the settlement inadequate or unfair,” In re Mego Fin.
10          Corp. Sec. Litig., 213 F.3d 454, 459 (9th Cir. 2000) (internal quotation
            marks and citation omitted). These various percentages fall in the range
11          of prior approved settlements in class actions. See Noll v. eBay, Inc., 309
            F.R.D. 593, 607 (approving settlement representing 50% of the first
12          month renewal fees and nine percent of all renewal fees); Custom LED,
            LLC v. eBay, Inc., No. 12-cv-350, 2013 WL 6114379 at *4 (November
13          20, 2013) (approving settlement recovery of 1.8% or 16% for breach of
            contract and unfair competition claims related to online fees).
14

15

16
     10
17   As set forth in the Hedin Declaration at paragraph 22, Plaintiffs best estimate of the
   potential liability Defendant faced had the Proposed Settlement not been reached as
18 $5,544,000, which assumes 1.5 automatic renewals per Settlement Class Member at
   approximately $33.00 per renewal, which includes sales tax. This would be the
19 “middle range” under the Kissel analysis. Defendant would have certainly argued that
   no refunds were due to any putative class members. And, if only a single renewal was
20 compensable because the customer was on notice of the automatic renewal of
   Celebrations Passport no later than after incurring the first renewal charge the
   anticipated damages would be $3,696,000. This would be the low range.
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 1         Here, the range of recovery percentages underpinning the Settlement is squarely

 2 within the heartland of reasonableness amongst comparable recent California ARL

 3 settlements relied upon in Kissel, and this Court, like the court in Kissel, should find

 4 this factor favors final approval. Notably, on absolute terms, the Settlement, which

 5 provides an all-cash benefit with direct payments made to Settlement Class Members,

 6 is better than settlements involving similar ARL claims that have involved the issuance

 7 of “credits” to have involved a claims process or both. See e.g. Davis v. Birchbox

 8 Inc., No. 3:15-cv-00498-BEN-BGS (S.D. Cal., Mar. 28, 2016), ECF No. 43 at 1 (class

 9 members received a $10-$20 credit for use on defendant’s goods and subscriptions);

10 Williamson v. McAfee, Inc., No. 5:14-cv-00158-EJD (N.D. Cal., Feb. 3, 2017), ECF

11 No. 114, at 2 (approving settlement where auto-renewal class members received $11.50

12 in “value certificates” and could only receive cash upon filing a claim form).

13         Accordingly, the first and most important factor weighs heavily in favor of

14 finding the Settlement fair, reasonable and adequate. See In re Tableware Antitrust

15 Litig., 484 F. Supp. 2d 1078, 1079-80 (N.D. Cal. 2007) (settlement should be

16 preliminarily approved if it is free of “obvious deficiencies” and generally falls within

17 the range of “possible” approval.).

18                      b. Continued Litigation Would Be Complex, Costly, and
                           Lengthy
19
           Final approval is also favored where settlement allows the class to avoid the
20
     inherent risk, complexity, time, and cost associated with continued litigation. See Nat’l
                                        33
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 1 Rural Telecommc’ns Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 526 (C.D. Cal. 2004)

 2 (“The Court shall consider the vagaries of litigation and compare the significance of

 3 immediate recovery by way of the compromise to the mere possibility of relief in the

 4 future, after protracted and expensive litigation.”).

 5        This would be lengthy and very expensive litigation if it were to continue,

 6 involving extensive motion practice, including, inter alia, motions to dismiss and to

 7 compel arbitration, a motion for class certification (and possibly a motion for

 8 decertification and an interlocutory appeal pursuant to Federal Rule of Civil Procedure

 9 23(f)), motions for summary judgment and various pretrial motions, as well as the

10 retention of experts, preparation of expert reports, and conducting expert depositions.

11 See Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977) (“[C]lass action suits have a

12 well-deserved reputation as being most complex.”). The case would not go to trial until

13 at least September 2025. (ECF No. 53). At trial Defendant would have likely mounted

14 a vigorous defense at trial and beyond, raised due process challenges to any verdict at

15 all stages. And even if the Settlement Class recovered a judgment at trial in excess of

16 the $1.2 million provided by the Settlement, post-trial motions and the appellate

17 process would deprive them of any recovery for years, and possibly forever in the event

18 of a reversal.

19        Rather than embarking on years of protracted and uncertain litigation, Plaintiffs

20 and their counsel negotiated a Settlement that provides immediate, certain, and


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 1 meaningful relief to all Settlement Class Members. See DIRECTV, Inc., 221 F.R.D. at

 2 526. Accordingly, this factor weighs in favor of finding the Settlement fair, reasonable

 3 and adequate. See Borcea v. Carnival Corp., 238 F.R.D. 664, 674 (S.D. Fla. 2006)

 4 (noting that “ [i]t has been held proper to take the bird in the hand instead of a

 5 prospective flock in the bush”).

 6                         c. Class Counsel is Competent, Well-Informed                 and
                              Experienced, and Strongly Endorse the Settlement
 7
           Courts may also examine the opinion of competent counsel as to whether a
 8
     proposed settlement is fair, reasonable, and adequate. Officers for Justice, 688 F.2d at
 9
     625. In assessing the qualifications of counsel under this factor, a court may rely upon
10
     affidavits submitted by class counsel as well as its own observations of class counsel
11
     during the litigation. Id.
12
           Plaintiffs’ counsel and proposed Class Counsel, Frank S. Hedin of Hedin LLP,
13
     has extensive experience in similar complex class action litigation, including serving
14
     as class counsel in similar consumer class actions concerning the commercial practices
15
     of large entities like Defendant. (See generally Hedin Decl.). Mr. Hedin strongly
16
     endorses this Settlement, which was negotiated at arm’s length before an experienced
17
     mediator. (See id.)
18
           Accordingly, this factor also weighs in favor of finding the Settlement fair,
19
     reasonable and adequate. See, e.g., Smith, 2013 WL 163293, at *3 (given their
20
     “experience and understanding of the strengths and weaknesses of cases such as this,
                                         35
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 1 class counsel’s endorsement weighs in favor of final approval.”); Bellinghausen v.

 2 Tractor Supply Co., 306 F.R.D. 245, 257 (N.D. Cal. 2015) (“The trial court is entitled

 3 to, and should, rely upon the judgment of experienced counsel for the parties.” (citation

 4 omitted)).

 5                      d. The Settlement is the Product of a Thorough Investigation,
                           Efficiently Prosecuted Litigation, and Arm’s-Length
 6                         Negotiations

 7
           The stage of the proceedings and the amount of discovery that has been
 8
     completed at the time a proposed settlement is reached also bears on whether the
 9
     settlement is fair, reasonable, and adequate. Lane, 696 F.3d at 819.
10
           The proposed Settlement was reached after the informal exchange of discovery
11
     and following Plaintiffs’ serving formal discovery requests on Defendant concerning
12
     every aspect of the automatic renewal of Celebrations Passport – the means and
13
     methods that Defendant used to disclose Celebrations Passport’s terms, the various
14
     sales channels Defendant used to sell Celebrations Passport, Defendant’s policies for
15
     notifying customers about renewal, and the number of California consumers who
16
     purchased Celebrations Passport during the class period. In addition, Plaintiffs’
17
     counsel conducted a thorough prefiling investigation, a continuing post-filing
18
     investigation concerning every aspect of this case, and conferrals with Defendant’s
19
     counsel. Armed with this information, Plaintiffs and their counsel had “a clear view
20
     of the strengths and weaknesses” of the case and were in a strong position to negotiate

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 1 a fair, reasonable, and adequate settlement on behalf of the Settlement Class, at

 2 mediation and beyond. In re Warner Commc’ns Sec. Litig., 618 F. Supp. 735, 745

 3 (S.D.N.Y. 1985), aff’d 798 F.2d 35 (2d Cir. 1986).

 4        Mediation was hard-fought and lasted an entire day. Prior to the mediation the

 5 parties each provided the mediator with confidential position statements. The initial

 6 proposed Settlement was only finalized after several more weeks of post-mediation

 7 negotiations between the Parties. And prior to finalizing the Settlement Agreement,

 8 Counsel confirmed the critical information related the size of the Settlement Class with

 9 confirmatory discovery from Defendant. Because the Settlement is the product of arm’s

10 length negotiations between experienced counsel with the benefit of confirmatory

11 discovery the second factor also weighs in favor of finding the proposed Settlement

12 fair, reasonable, and adequate. See Rodriguez v. W. Publishing, 563 F.3d 948, 965 (9th

13 Cir. 2009) (“We put a good deal of stock in the product of an arms-length, non-

14 collusive, negotiated resolution.”); Harris v. Vector Mktg. Corp., No. C-08-5198 EMC,

15 2011 WL 1627973, at *8 (N.D. Cal. Apr. 29, 2011) (“An initial presumption of fairness

16 is usually involved if the settlement is recommended by class counsel after arm’s-

17 length bargaining.”); 4 Newberg § 11.41 (presumption of fairness exists where a

18 proposed class settlement “is the product of arm’s length negotiations, sufficient

19

20


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 1 discovery has been taken to allow the parties and the court to act intelligently, and

 2 counsel involved are competent and experienced.”).11

 3             Accordingly, this factor also weighs in favor of finding the Settlement fair,

 4 reasonable and adequate.

 5        V.   CONCLUSION
 6
               For the foregoing reasons, Plaintiffs respectfully request that the Court: (A) grant
 7
     Final Approval of the Settlement in the form of the proposed Final Approval Order and
 8
     Judgment filed herewith, and (B) certify the Settlement Class.
 9
     Dated: January 24, 2025                    Respectfully submitted,
10
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11
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15
                                                Counsel for Plaintiffs and
                                                the Proposed Settlement Class
16

17
     11
18         See also, e.g., Adams v. Inter-Con Sec. Sys., Inc., No. 06-cv-5428, 2007 WL
   3225466, at *3 (N.D. Cal. Oct. 30, 2007) (“The assistance of an experienced mediator
19 in the settlement process confirms that the settlement is non-collusive.”); In re Indep.
   Energy Holdings PLC, No. 00-cv-6689, 2003 WL 22244676, at *4 (S.D.N.Y. Sept. 29,
20 2003) (“the fact that the settlement was reached after exhaustive arm’s-length
   negotiations, with the assistance of a private mediator experienced in complex
   litigation, is further proof that it is fair and reasonable”).
                                           38
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